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                EXHIBIT I
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      Well over 20,000 people every month use Logic — at
     Tesla, SpaceX, Apple, Google, and virtually every other
             hardware manufacturer on the planet.
    Saleae logic analyzers are used by electrical engineers, firmware developers, enthusiasts,
       and engineering students to record, measure, visualize, and decode the signals in their
                                                           electrical circuits.




                                                          Our Mission

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      Our mission is to make test equipment that’s a joy to use, and to push the entire industry
         in that direction. We believe there is tremendous opportunity to invent in this space.




                                       Test equipment needs love,
                                        and we're going to give it.




                                                           Beginnings
         We love great engineering tools – but when we were looking for a logic analyzer, the
       options we found weren’t particularly inspiring or affordable. So we decided to try and

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                                                              make our own.

      The first very first Logic was bravely purchased by Chip C. on June 3rd 2008, on eBay. In
      those days, Joe hand-assembled each device—applying solder paste, placing parts with
                                       tweezers, and soldering with a hot air pencil.




                     Designed in the San Francisco Bay Area




        Where we're located
        Our offices are located just south of
        beautiful San Francisco.

        Address:
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                                                                                                                       Cart




          Joe Garrison                      Mark Garrison                       Debora Georgino             Kristina C
                   CEO                        VP Engineering                     Head of Operations        Office Manager




       Tanveer Junayed                         Rani Horev                        Ryan Huffman           John Colanduoni
           Chief Designer                 Sr. Software Engineer                 Sr. Software Engineer   Sr. Software Engineer




          John Artiuch                         Tim Reyes                            Janelle R                Joseph C
         Head of Hardware                                                        Customer Advocate       Customer Advocate

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                                         Hardware Engineer and
                                            Support Manager




           Jonathan G
      Hardware Engineer and
        Customer Advocate




                                                        We are hiring
                                                        No positions available



                                                             Join Our Team




                                                                          Products


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